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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    OLD BBP, INC., et al.,1                                Case No. 19-12502 (LSS)

                                                           (Jointly Administered)
                                    Debtors.
                                                           Hearing Date: April 1, 2020 at 10:00 a.m. (ET)
                                                           Objection Deadline: March 25, 2020 at 4:00 p.m. (ET)

      COVER SHEET FOR FIRST AND FINAL FEE APPLICATION OF HOULIHAN
         LOKEY CAPITAL, INC. FOR ALLOWANCE OF COMPENSATION FOR
        SERVICES RENDERED AND FOR REIMBURSEMENT OF EXPENSES AS
        FINANCIAL ADVISOR AND INVESTMENT BANKER TO THE DEBTORS
       FOR THE PERIOD OF NOVEMBER 21, 2019 THROUGH JANUARY 31, 2020


    Name of Applicant:                                          Houlihan Lokey Capital, Inc.
    Authorized to Provide Professional Services to:             the above-captioned debtors (collectively,
                                                                the “Debtors”)
    Date of Retention:                                          December 26, 2019, nunc
                                                                pro tunc to November 21,
                                                                2019
    Period for which compensation
    and reimbursement are sought:                               November 21, 2019 through January 31,
                                                                2020
    Total Compensation Requested
    On a Final Basis:                                           $8,086,752 consisting of: $188,710 in
                                                                Monthly Fees and $7,898,042 for the
                                                                WholeCo Sale Transaction Fee2
    Total Expense Reimbursement
    Requested on a Final Basis:                                 $8,124
    This is a(n):     Monthly              Interim               X Final Application

    Is this a first monthly application? Yes X             No


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Old BBP, Inc. (f/k/a Bumble Bee Parent, Inc.) (5118); Old BBH, Inc. (f/k/a Bumble Bee Holdings, Inc.)
(1051); Old BBF, LLC (f/k/a Bumble Bee Foods, LLC) (0146); Anova Food, LLC (2140); and Old BBC Corp. (f/k/a
Bumble Bee Capital Corp.) (7816). The mailing address for the above-captioned Debtors is Old BBP, Inc., et al.,
Attn: Albert Altro, Chief Wind Down Officer, Traverse LLC, 300 Spectrum Center Dr., Suite 400, Irvine, California
92618.
2
 WholeCo Sale Transaction Fee calculated net of applicable Monthly Fee crediting, as detailed in this Final Fee
Application
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    OLD BBP, INC., et al.,1                                  Case No. 19-12502 (LSS)

                                                             (Jointly Administered)
                                    Debtors.
                                                             Hearing Date: April 1, 2020 at 10:00 a.m. (ET)
                                                             Objection Deadline: March 25, 2020 at 4:00 p.m. (ET)

 FIRST AND FINAL FEE APPLICATION OF HOULIHAN LOKEY CAPITAL, INC.
FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR AND INVESTMENT
    BANKER TO THE DEBTORS FOR THE PERIOD OF NOVEMBER 21, 2019
                     THROUGH JANUARY 31, 2020

             Houlihan Lokey Capital, Inc. (“Houlihan Lokey”), as financial advisor and investment

banker to the above-captioned debtors and debtors in possession (collectively, the “Debtors”),

hereby submits its final application for approval of compensation and reimbursement of expenses

(this “Final Fee Application”), as set forth in the proposed order attached hereto as Exhibit B, to

the United States Bankruptcy Court for the District of Delaware (the “Court”), pursuant to sections

327(a) and 328(a) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule

2014-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), and the Order, Pursuant to Sections 105(a)

and 331 of the Bankruptcy Code, Bankruptcy Rule 2016(a), and Local Rule 2016-2, Establishing

Procedures for Interim Compensation and Reimbursement of Professionals [Docket No. 156] (the


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Old BBP, Inc. (f/k/a Bumble Bee Parent, Inc.) (5118); Old BBH, Inc. (f/k/a Bumble Bee Holdings, Inc.)
(1051); Old BBF, LLC (f/k/a Bumble Bee Foods, LLC) (0146); Anova Food, LLC (2140); and Old BBC Corp. (f/k/a
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Attn: Albert Altro, Chief Wind Down Officer, Traverse LLC, 300 Spectrum Center Dr., Suite 400, Irvine, California
92618.
                                                         1
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“Interim Compensation Order”).        By this Final Fee Application, Houlihan Lokey seeks

compensation for investment banking services performed and expenses incurred during the period

commencing November 21, 2019 through January 31, 2020 (the “Final Fee Application Period”).

        1.     By this Final Fee Application, Houlihan Lokey requests: (a) final allowance of

 compensation of $8,086,752, and (b) final allowance of reimbursement of $8,124 in expenses, in

 accordance with the Interim Compensation Order. The total amount of compensation and expense

 reimbursement requested to be approved pursuant to this Final Fee Application is $8,094,876.

        2.     Pursuant to Local Rule 2016-2, this Final Fee Application is supported by the

 certification of Matt Braun, which is annexed hereto as Exhibit A. In further support of this Final

 Fee Application, Houlihan Lokey states as follows:

                                        BACKGROUND

        3.     On November 21, 2019 (the “Petition Date”), each of the Debtors filed with the

 Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The cases are

 being jointly administered pursuant to Bankruptcy Rule 1015(b).

        4.     On November 27, 2019, the Debtors filed an application for an order approving the

 employment and retention of Houlihan Lokey as their financial advisor and investment banker

 nunc pro tunc to the Petition Date [Docket No. 87] (the “Retention Application”).

        5.     On December 26, 2019, the Court entered an order approving the Retention

 Application [Docket No. 196] (the “Retention Order”).

        6.     The terms and conditions of Houlihan Lokey’s engagement in these cases, which

 are embodied in the Retention Order and approved by the Court, are based upon Houlihan Lokey’s

 engagement agreement with the Debtors dated as of October 3, 2019 (the “Engagement

 Agreement”) and as modified in the Retention Order. Pursuant the Retention Order, Houlihan

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Lokey is to be compensated through a monthly fee of $150,000 (the “Monthly Fee”), plus a

WholeCo Sale Transaction Fee (as modified in section 6 of the Retention Order).

       7.     In addition, the Retention Order entitles Houlihan Lokey to receive reimbursement

of all actual and reasonable out-of-pocket expenses.

       8.     Under the Retention Order, Houlihan Lokey is compensated on a flat monthly and

transactional, as opposed to hourly, fee basis, reflecting a typical fee structure for Houlihan Lokey

and other leading investment banking firms. For the convenience of the Court and all parties in

interest, attached hereto as Exhibit C is a schedule setting forth estimated hours worked by

professionals during the Final Fee Application Period. Because Houlihan Lokey does not have

the systems in place to allow its professional staff to regularly log hours worked, the hours logged

are estimates only.

       9.     After approximately two months operating in chapter 11, the Debtors successfully

sold a majority of their assets as a result of the sale process conducted by Houlihan Lokey which

began many months prior to the Petition Date (the “Prepetition Sale Process”).

             SUMMARY OF SERVICES PROVIDED BY HOULIHAN LOKEY

       10.    Houlihan Lokey was first engaged by Clover Leaf Seafood S.à.r.l. (“Clover Leaf”),

the parent company to the Debtors, pursuant to an engagement agreement dated December 19,

2018 (the “December Agreement”) for the purpose of assisting with the sale of Clover Leaf's

non-Debtor assets. Houlihan Lokey was also engaged by Bumble Bee Foods, LLC (“BBF LLC”),

one of the Debtors, pursuant to an engagement agreement dated April 24, 2019 (the “April

Agreement”) for the purpose of assisting with the raising of funds in connection with efforts to

resolve civil litigation claims. Both the December Agreement and the April Agreement were

superseded by an engagement agreement with Bumble Bee Foods S.à.r.l. (“BBF S.à.r.l.”), the

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parent company to Clover Leaf and BBF LLC, dated September 5, 2019 (the “September

Agreement” and, collectively with the December Agreement and the April Agreement, the “Prior

Agreements”) which expanded Houlihan Lokey’s engagement to include assisting with a sale of

both Debtor and non-Debtor assets, as well as ancillary services in connection with a potential

bankruptcy filing. The September Agreement was superseded by the Engagement Agreement

which was modified by the Retention Order.

       11.    Houlihan Lokey’s post-petition work on behalf of the Debtors included, but was not

limited to, the following services:

     a) reviewed diligence materials and coordinated ongoing diligence by a number of
        interested parties (potential buyers, potential lenders, prepetition lenders, and the
        Official Committee of Unsecured Creditors (the “Committee”));

     b) conducted an overbid sale process reaching out to 65 potential buyers, all of whom had
        previously executed non-disclosure agreements as part of the Prepetition Sale Process;

     c) assisted Debtors’ management team with post-emergence financing discussions, which
        included analyzing borrowing base constraints and liquidity requirements, and
        assisting with updating the Company’s Confidential Information Memorandum;

     d) coordinated information flow and provided analyses for the benefit of the Prepetition
        Term Facility Lenders, Prepetition ABL Facility Lenders, and the Committee;

     e) participated in weekly and ad hoc telephonic meetings with the Debtors’ management team
        and Special Restructuring Committee;

     f) prepared Debtors’ funds flow and coordinated closing process;

     g) prepared analyses in support of some of the Debtors’ court filings;

     h) Eric Winthrop and Matt Braun submitted declarations in support of three different
        motions brought before the Court; and

     i) Houlihan Lokey performed various other financial advisory and investment banking
        services as requested, including coordinated such services with other advisors and
        counsel, as appropriate, in an effort to avoid duplication of effort.



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        12.   Houlihan Lokey’s post-petition work on behalf of the Debtors was critical to support

the Debtors’ discussions and negotiations with its creditors and other parties-in-interest, which

culminated in a successful closing of the sale to FCF Co., Ltd.

        13.   The following professionals in Houlihan Lokey's Los Angeles and Chicago offices

performed substantial services to the Debtors in these cases:

                 Professional                           Title                     Office

         Eric Winthrop                  Managing Director              Los Angeles

         Matthew Kaczmarek              Managing Director              Chicago

         Matt Braun                     Senior Vice President          Los Angeles

         Nate Grow                      Vice President                 Chicago

         Shane Soobotin                 Associate                      Los Angeles

         Tim Binney                     Associate                      Chicago

         Chloe Wang                     Analyst                        Los Angeles

         Connor Lain                    Analyst                        Chicago

         Megan Downey                   Analyst                        Chicago


        14.   Pursuant to the Retention Order, Houlihan Lokey is excused from complying with

the information requirements contained in Bankruptcy Rule 2016(a) and Local Rule 2016-2.

                     HOULIHAN LOKEY’S FINAL FEE APPLICATION

        15.   Houlihan Lokey has rendered substantial and valuable professional services on behalf

of the Debtors that resulted in a significant benefit to the creditors of the Debtors’ estates and that

were beneficial to the administration of these chapter 11 cases. Houlihan Lokey respectfully submits

that its services were provided with the requisite level of skill and were performed within a reasonable

amount of time commensurate with the complexity, importance, and nature of the problems, issues,

and tasks addressed. Houlihan Lokey charged its customary fees, which are reasonable based on the
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customary compensation charged by comparably skilled professionals in cases other than cases under

this title. The amount sought in compensation is in line with awards in similar cases and is

commensurate with the professional standing, ability, and expertise of Houlihan Lokey and the

professionals who have participated in these cases. Accordingly, the compensation requested

herein reflects the reasonable value of the services provided to the Debtors.

       16.    In the period leading up to the Petition Date, the Debtors paid Houlihan Lokey a

total of $1,200,000 in the aggregate for professional services attributable to periods from April

24, 2019 to December 23, 2019, which includes payments made in advance and attributable to a

partial period after the Petition Date. In addition, prior to the Petition Date, Houlihan Lokey

received $23,775 to cover actual expenses incurred and $25,000 as an expense retainer to cover

any remaining pre-petition expenses not yet posted to Houlihan Lokey’s accounting system.

                                  Monthly Fees Paid Prior to Petition Date

                   Invoice Date             Attributable Period                   Amount
                   Apr 24 2019               Apr 24 - May 23, 2019               $150,000
                   May 31 2019               May 24 - Jun 23, 2019                 150,000
                   Jun 24 2019               Jun 24 - Jul 23, 2019                 150,000
                   Jul 24 2019               Jul 24 - Aug 23, 2019                 150,000
                   Aug 27 2019               Aug 24 - Sep 23, 2019                 150,000
                   Sep 26 2019               Sep 24 - Nov 23, 2019                 300,000
                   Nov 04 2019               Nov 24 - Dec 23, 2019                 150,000
                   Total fees paid prior to the Petition Date                   $1,200,000


       17.    Houlihan Lokey’s fee and expense detail after the Petition Date is outlined in

Exhibit D attached hereto. In accordance with paragraph 6 of the Retention Order, Houlihan is

seeking financial allowance compensation of $8,086,752 and final allowance of reimbursement

of expenses of $8,124.

       18.    Houlihan Lokey’s request for final allowance compensation includes $188,710 in

the aggregate Monthly Fees for professional fees incurred after the Petition Date and attributed
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to the period December 24, 2019 to January 31, 2020. Houlihan Lokey has already received

payment by the Debtors for the aggregate Monthly Fees during the Final Fee Application Period.

                   Monthly Fees Paid During the Final Fee Application period

                 Invoice Date            Attributable Period                 Amount
                 Jan 09, 2020             Dec 24 - Jan 23, 2020               150,000
                 Jan 23, 2020             Jan 24 - Jan 31, 2020                38,710
                 Total fees paid during the Final Fee Application Period     $188,710


       19.       Houlihan Lokey’s request for final allowance compensation also includes

$7,898,042 for the WholeCo Sale Transaction Fee which is calculated net of applicable Monthly

Fee crediting.

       20.       The WholeCo Sale Transaction Fee earned by Houlihan Lokey of $7,898,042

consists of: $8,367,397, calculated as 0.90% of the Purchase Price of $929,710,798, as defined in

the stalking horse asset purchase agreement dated November 21, 2019 (the “Stalking Horse

APA”), net of crediting of 50% of aggregated Monthly Fees earned after July 23, 2019 calculated

as $469,355.

                            WholeCo Sale Transaction Fee Calculation

                          [summary chart appears on the following page]




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       WHOLECO SALE TRANSACTION FEE
        Base Purchase Price                                                            925,600,000
        DIP Collared Increase Amount (up to $5mm)                                        3,413,721
        Plus: Amounts paid by Sellers due to cancelled contracts                           473,000
        Plus: Prepaid Current Wage Amounts                                                 224,077
        Purchase Price                                                                 929,710,798
        WholeCo Sale Transaction Fee (%)                                                     0.90%
       WholeCo Sale Transaction Fee (prior to crediting)               [A]               8,367,397

       MONTHLY FEE CREDITING
        Monthly Fees Earned (04/24/19 to 01/31/20)                                       1,388,710
        Less: Monthly Fees Earned (04/24/19 to 07/23/19)                                  (450,000)
        Monthly Fees subject to crediting                                                  938,710
       Applicable Monthly Fee Crediting (50%)                          [B]                469,355

       WHOLECO SALE TRANSACTION FEE                                [A] less [B]          7,898,042


       21.    Houlihan Lokey’s request for final allowance of reimbursement of expenses

consists of $8,124 of out-of-pocket expenses incurred after the Petition Date.

       22.    As stated more fully in the Retention Application, prior to the Petition Date,

Houlihan Lokey received a $25,000 expense reimbursement retainer to cover pre-petition

expenses under the Engagement Agreement. The $25,000 expense reimbursement retainer was

applied against $21,047 of pre-petition expenses not yet posted to Houlihan Lokey’s accounting

system. Thus, as of the Petition Date, $3,953 of the initial $25,000 expense reimbursement

retainer was available for future post-petition out-of-pocket expenses under the Engagement

Agreement.

       23.    Houlihan Lokey requests that the remaining expense reimbursement retainer be

applied against Houlihan Lokey’s $8,124 post-petition reimbursable out-of-pocket expenses. If

approved, the $25,000 expense reimbursement retainer would be fully used and $4,172 of

Houlihan Lokey’s post-petition reimbursable out-of-pocket expenses would remain outstanding.


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       24.   All requested expenses are in compliance with Local Rule 2016-2 and Houlihan

Lokey has maintained detailed records of actual and necessary expenses incurred.

       25.   The total amount of compensation and expense reimbursement requested to be

approved pursuant to this Application is $8,094,876. Houlihan Lokey has already received

payment by the Debtors for the $188,710 of aggregate Monthly Fees for professional fees incurred

after the Petition Date (as described above). Assuming Houlihan Lokey’s request to have the

$3,953 remaining expense reimbursement retainer applied against Houlihan Lokey’s post-petition

reimbursable out-of-pocket expenses is approved, the total amount of compensation and expense

reimbursement requested but unpaid as of this filing would be $7,902,214.




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              WHEREFORE, Houlihan Lokey requests that the Court (i) approve, on a final

basis, this Final Fee Application for services rendered and costs incurred during the Final Fee

Application Period and authorize direct payment of all such amounts not previously paid; and

(ii) enter any such other and further relief as the Court deems proper.




Dated: March 11, 2020
        Los Angeles, California

                                                    HOULIHAN LOKEY CAPITAL, INC.

                                                    By: /s/ Matt Braun
                                                         Matt Braun
                                                         Senior Vice President

                                                         10250 Constellation Blvd.
                                                         Los Angeles, CA 90067




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